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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

                                       :
    DONNA PARRIS                       :
                                       :
    v.                                 : Civil No. 3:10CV1128 (WWE)
                                       :
    CHARLES PAPPAS, ET AL              :
                                       :
                                       :

     RULING ON PLAINTIFF’S RENEWED MOTION FOR SANCTIONS AND
                FINDING OF CONTEMPT [DOC. #274]

    In this civil rights action pursuant to the Fair Housing

Amendments Act, Connecticut Discriminatory Practices Act, and

Connecticut Unfair Trade Practices Act, plaintiff Donna Parris

obtained a default judgment against defendants Charles Pappas,

Robin Delaney, Anna Lexis, LLC and Normandies Park, LLC, in the

amount of $112,407 in compensatory damages, $150,000 in punitive

damages and $87,392.50 in attorney’s fees on February 10, 2012.

[Doc. ##112, 113, 121]. Since that time, plaintiff has expended

great effort and resources to collect on this judgment.

    The Court assumes familiarity with the factual background

of this case as reflected in prior rulings. The following

additional facts describe a protracted procedural history caused

by defendant Pappas’s noncompliance with the Court’s orders.

Order Dated January 19, 2016 [Doc. #248]

    On January 19, 2016, the Judge Eginton granted plaintiff’s

Motion for Sanctions in part, and ordered Pappas to tender to


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plaintiff, by February 19, 2016, “the amount of $47,844.28

representing the proceeds from the sale of a certain property

located at 44-48 Barbara Street, Providence, RI 02908 that was

sold by Defendant Pappas in violation of this Court’s orders

prohibiting dissipation of assets.” [Doc. #248 ¶1]. The Court

further ordered Pappas “to provide a monthly accounting of rents

for the Normandies Park mobile home park to Plaintiff’s counsel

and the Court and to turn over any rents in excess of the cost

to operate said park to Plaintiff on the 15th of each month

commencing on February 15, 2015.” Id. ¶2. Pappas was “further

ordered to provide a full financial disclosure to plaintiff on

or before February 1, 2016.” Id. ¶3. This included the

disclosure of all properties “in which he held an interest from

January 1, 2013 to the present, any financial transactions to

which he has been party during that time and all other

information ordered to be disclosed in this Court’s order dated

August 6, 2012 (Doc. No. 196.” Id. Finally, Pappas was “ordered

to provide forthwith an address at which he [would] accept

service of court documents.”     Id. ¶4.

Recommended Ruling Dated February 26, 2016

     On February 26, 2016, the Court held Pappas in

contempt on

     [t]he record of Pappas’s extensive history of
     concealment and evasion, his most recent disregard of
     this Court’s authority and his admissions that he

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     ha[d] dissipated the proceeds of the Barbara Street
     property sale and sold other assets between January 1,
     2013 and the present, constitute[d] clear and
     convincing evidence that defendant Pappas ha[d] acted
     in contempt of this Court’s orders.

[Doc. #255].

     On February 29, 2016, the Court issued a capias for Mr.

Pappas’s arrest and scheduled his presentment for March 9, 2016.

[Doc. #257]. A federal public defender was appointed on March 9,

2016, to represent defendant with respect to the capias

proceeding. Pappas turned himself in to the United States

Marshals Service in Worcester, Massachusetts. During a

conference call with counsel, the Court instructed defendant to

file an updated disclosure of assets and a response to the

recommended ruling and asked counsel to confer to set a date

with the Court for the contempt proceeding. [Doc. #259]. On May

24, 2016, Pappas filed an objection to the Court’s recommended

ruling.1 [Doc. #264].

     In his objection, defendant contended that since the

issuance of the capias he had “substantially complied with

paragraphs 2 through 4 of the January 19, 2016 Order,

eliminating the need for coercive civil contempt measures with

respect to these portions of the order.” [Doc. #264 at 3]. He



     1Plaintiff filed a response on June 3, 2016. [Doc. #268].
The objection to the recommended ruling is pending with Judge
Eginton.

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was trying to sell Normandies Park and a property referred to as

Putnam Pike to satisfy the judgment. In addition, he paid

plaintiff $42 on May 24, 2016, representing the previous month’s

rental income from Normandies Park. [Doc. #264 Ex. 5]. He agreed

to accept service of process at an address in Golden Valley,

Arizona. He stated, however, that he was “simply not able to

comply with that order” directing him to pay plaintiff the sum

of $47,844.28. In a footnote he stated it was “worth noting that

a substantial portion of the $47,844.28-a figure reflecting the

proceeds of a sale of property by Mr. Pappas on December 7,

2011-appears to have been used to satisfy Mr. Pappas’ tax

liabilities with respect to the Normandies Park property.” Id.

n.1.

        In reply, plaintiff pointed out that there is a history of

Pappas making misrepresentations to the Court concerning the

Barbara Street property and failing to disclose assets and

financial resources. [Doc. #268 (citing Doc. #238 (setting forth

factual background)). For example, in sworn responses to

plaintiff’s interrogatories dated February 17, 2012, Pappas

stated he obtained “a loan of $35,000 from Patricia Hogan [] to

pay the tax liens in regard to Normandies Park. There is no loan

document for this loan.”2 [Doc. #268 at 2 (citing Ex. A].




2   Patricia Hogan is Charles Pappas’s sister.
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Similarly, plaintiff stated that “Pappas continue[d] to fail to

account for valuable property such as a snow mobile and

construction equipment that his co-defendant Robin Delaney

testified he was concealing.” [Doc. 268 (citing Ex. B at 98:4-

102:8)]. In sum, plaintiff argued that “[g]iven Mr. Pappas’s

flagrant violation of this Court’s non-dissipation order and

general pattern of lack of candor under oath and before this

Court, the Court is not required to credit his claims that he

lacks the financial resources to comply with the Order.” Id. at

4.

Renewed Motion for Sanctions and Finding of Contempt [Doc. #274]

     On October 7, 2016, plaintiff filed a Renewed Motion for

Sanctions and Finding of Contempt due to Pappas’s continued

evasion of obligations and defiance of the Court orders. [Doc.

#274]. She again asserts that Pappas refused to comply with the

Court’s January 19, 2016, Order to turn over profits generated

by defendant Normandies Park, LLC. [Doc. #274 ¶2]. Plaintiff

seeks a finding of contempt and imposition of sanctions, up to

and including confinement until he purges his contempt. Since

the filing of the motion, the parties have engaged in protracted

discussions. The Court scheduled contempt hearings on December

19, 2016; January 19, February 21, April 17, May 9, and June 12,

2017, which were postponed at the parties’ request on the




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representation that they were trying to resolve the contempt.3

[Doc. #282, 287, 290, 292, 295, 296].

     Defendant first contends that he has provided accountings

of income and expenses for Normandies Park in compliance with

the January 19, 2016 Order. [Doc. #277 at 1]. Beginning on

August 26, 2016, Pappas filed Statements of Normandies Park

Income and Expenses pursuant to the Court’s Order dated January

19, 2016.   [Doc. ##270, 271, 276, 288, 289, 291, 294, 297, 309].

In each statement, defendant submitted that the expenses either

met or exceeded the rental income at the mobile park. Second, he

has responded to all interrogatories and requests for

production. Id. Third, he points out that all his remaining

property is for sale and all the proceeds will be “provided

entirely” to plaintiff. Instead, of a contempt finding, he asks

the Court to “establish a payment schedule that takes into

account [his] limited assets and monthly income.” Id. He

represented he received a minimal income from rental properties

and has “supplemented his income by renting out his residence on

an occasional basis” and by “perform[ing] odd jobs like working

as a handyman, cutting and packing wood, and giving advice to

builders.” Id. 2-3.    “As a bottom line, Mr. Pappas lives close

to rock bottom, sometimes relying on meals from a food pantry to


3A telephone conference was held on November 14, 2016, to
schedule the contempt hearing. [Doc. #280].
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eat.” Id. at 3.

    Pappas proposed the following payment schedule: “10% of all

of his income above the federal poverty line ($11,770 per year)

and 25% of all of his income above 150% of the federal poverty

line ($17,655 per year).” Id. at 5. He proposed submitting a

monthly payment, along with an accounting of his income for the

month. Id.

STANDARD

    “This Court has the inherent power to hold a party in civil

contempt in order ‘to enforce compliance with an order of the

court or to compensate for losses or damages.’” Powell v. Ward,

643 F.2d 924, 931 (2d Cir. 1981) (quoting McComb v. Jacksonville

Paper Co., 336 U.S. 187, 191 (1949)).

    A party may be found in civil contempt for failure to

comply with a court order if (1) the order is clear and

unambiguous; (2) the proof of noncompliance is clear and

convincing; and (3) the contemnor has not diligently attempted

to comply in a reasonable manner.      Paramedics Electromedicina

Comercial, Ltda v. GE Med. Sys. Info. Techs., Inc., 369 F.3d

645, 655 (2d Cir. 2004).     A willful violation need not be

proved.    Donovan v. Sovereign Sec. Ltd., 726 F. 2d 55, 59 (2d

Cir. 1984).    The standard for contempt is “rigorous” and

requires that the party seeking contempt prove its elements “by

clear and convincing evidence.” Schmitz v. St. Regis Paper Co.,

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758 F. Supp. 922, 925 (S.D.N.Y. 1991).       “In the context of civil

contempt, the clear and convincing standard requires a quantum

of proof adequate to demonstrate ‘reasonable certainty’ that a

violation occurred.” Levin v. Tiber Holding Corp., 277 F.3d 243,

250 (2d Cir. 2002) (citation omitted).

    A court enjoys broad discretion in determining the

appropriate sanction, and should consider the harm and probable

effect of alternative sanctions.       Paramedics Eltromedicina

Comercial, Ltda, 369 F.3d at 657; EEOC v. Local 29, Sheet Metal

Workers, 247 F.3d 333, 336 (2d Cir. 2001).       The Court may resort

to incarceration as a coercive sanction for civil contempt,

providing that “the contemnor is able to purge the contempt and

obtain his release by committing an affirmative act.”         Int’l

Union Mine Worker of Am. v. Bagwell, 512 U.S. 821, 828-29

(1994).

    Impossibility Defense

    The purpose of civil contempt, broadly stated, is to
    compel a reluctant party to do what a court requires
    of him. Because compliance with a court's directive is
    the goal, an order of civil contempt is appropriate
    “only when it appears that obedience is within the
    power of the party being coerced by the order.”

Badgley v. Santacroce, 800 F.2d 33, 36 (2d Cir. 1986) (quoting

Maggio v. Zeitz, 333 U.S. 56, 69, 68 S.Ct. 401, 408, 92 L.Ed.

476 (1948)). Parties are bound by a court order until the court

modifies the order or releases them from it, and defendants who


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act without first asking the court to clarify the order “act [ ]

at their own peril.” McComb, 336 U.S. at 192. A party may defend

against a contempt by showing that his compliance is “factually

impossible.” United States v. Rylander, 460 U.S. 752, 757, 103

S. Ct. 1548, 1552, 75 L. Ed.2d 521 (1983). “An impossibility

defense will not lie where the defendant cannot demonstrate that

it has made diligent efforts to comply with the order, and no

circumstances have changed.” E.E.O.C. v. Local 638-Local 28 of

Sheet Metal Workers' Int'l Ass'n, 13 F. Supp. 2d 453, 459

(S.D.N.Y. 1998), aff'd in part, rev'd in part and remanded sub

nom., City of New York v. Local 28, Sheet Metal Workers' Int'l

Ass'n, 170 F.3d 279 (2d Cir. 1999).

    To the extent that defendant Pappas is raising this

defense, he has the burden of production that may be difficult

for him to meet in light of his history of noncompliance with

Court orders and his response to this motion. At the hearing on

August 29, 2017, defendant offered no testimony or evidence to

support a finding that he “made diligent efforts” to comply with

the January 1, 2016 Order or that “circumstances have changed,”

making compliance with the order impossible. Id.

August 29, 2017 Hearing

    At a hearing on August 29, 2017, Pappas appeared in good




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health, able bodied and well-nourished.4 He is currently living

in Maine with a girlfriend, Julie Weber, and her two daughters.

Income

        Pappas testified that he generates income from self-

employment such as selling bulk wood, construction and Radon

testing and he occasionally assists Ms. Weber with handyman

projects and delivery of wood. [Pl. Ex. 7 at 3 (income sources

listed were handyman, cutting and packaging firewood, planning

residential house construction, rental income); Pl. Ex. 32]. A

previously undisclosed checking account statement from December

2015 through November 2016, showed consistent deposits and bill

payments. [Pl. Ex. 7 (“Mr. Pappas has not opened or maintained

any bank account, directly or indirectly, since August of

2012.”); 11]. The banking statement showed consistent electronic

payments for expenses such as gasoline, Time Warner Cable,

utilities, credit cards, Home Depot, Wal-Mart, Amazon, food,

internet service, smoke shop, etc. [Pl. Ex. 11], during a time

period when defendant asserted an inability to pay plaintiff.

His counsel represented that he was “involved in a

repair/construction job” between August 30 and September 22,

2016, which accounted for several significant withdrawals and

deposits. [Doc. #11 at 1]. Plaintiff did not provide a bank




4   Defendant appeared with counsel and testified under oath.
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statement for 2017, which violates the January 19, 2016 Order at

paragraph 3. There is no evidence that Pappas has a physical or

mental disability that prevents him from working. Rather,

defendant has demonstrated an ability to generate consistent

income and pay expenses.

Proceeds from Barbara Street Sale

    Plaintiff remains in contempt of Judge Eginton’s January

19, 2016 Order for the reasons stated in the Court’s Recommended

Ruling dated February 26, 2016, and based on the current record.

    Responses to questions regarding the proceeds from the

Barbara Street property were evasive, including whether or not a

portion (approximately $31,000) was used to pay taxes on

Normandie Park or whether his sister, Patricia Hogan, lent him

money for that tax payment. Under questioning by plaintiff’s

counsel, he could “not recall” or was “not sure” about the sale

of this or other properties or payment of taxes, or the accuracy

of his sworn interrogatory responses. This testimony is of no

matter to the determination of whether plaintiff remains in

contempt. Plaintiff has not paid the plaintiff the amount of

$47,844.28 representing the proceeds from the sale of the

Barbara Street property and remains in contempt of the January

19, 2016 Order at paragraph 1.

Farms Hill Trust

    Plaintiff offered conflicting testimony regarding his role

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as a guarantor for a property purchased by the Farms Hill Trust

for the benefit of Ms. Weber, Trustee. Pappas maintains he has

no beneficial interest in the Trust, is not privy to how the

property is rented or managed, has no knowledge of the Trust

holdings, and had no access to the Trust documents. He testified

that he did not provide a financial statement to the seller at

the time of purchase, despite his designation as guarantor.

Roxbury Road Trust

    Similarly, plaintiff offered conflicting testimony

regarding the Roxbury Road Trust. The Trust maintains the same

P.O. Box address in Maine as defendant. He testified that his

former girlfriend Laurie Farrington was a Trustee. [Pl. Ex. 23].

At the time she was Trustee, the mailing address for the Trust

was the same as the residence shared by Farrington and Pappas.

Ms. Farrington resigned as Trustee on November 16, 2012 and

Patricia Hogan, Pappas’s sister, was appointed as Successor

Trustee. Id. Pappas witnessed the Trustee Resignation document.

Id. Pappas testified that Julie Weber did not want his former

girlfriend acting as Trustee, that the Roxbury Road Trust is Ms.

Weber’s Trust and that he had no knowledge of various

transactions that may have been made by the Trust, including the

sale of a property located on Roxbury Road.

Proposed Payment Plan

    Defendant Pappas proposes a monthly payment plan,

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accompanied by an accounting of his income, to satisfy the

judgment.5 He further proposes that “[t]he effect of the judgment

on sale of any valuable assets owned by Mr. Pappas, including

any assets acquired in the future, would not be subject to this

schedule.” [Doc. #277 at 5].

     Plaintiff expresses understandable concern that defendant

will not comply with a Court order to pay a percentage of

unsubstantiated income. As plaintiff pointed out, Pappas’s bank

accounts showed a substantial pass through of money, although by

the time the account balances were disclosed there was no

remaining balance. [Pl. Ex. 11]. Defendant has demonstrated

through his actions and deeds that his word is not trustworthy

even when provided under oath.

     There is no question that Mr. Pappas continues to violate

the Court’s January 19, 2016 Order. Since the Court entered the

Order to tender the Barbara Street sale proceeds in the amount




5Defendant proposes that the Court set the following payment
schedule,
     10% of all of his income above the federal poverty
     line ($11,770 per year) and 25% of all of his income
     above 150% of the federal poverty line ($17,655 per
     year). Defendant would provide such payment on a
     monthly basis, along with an accounting of his income
     for the month. The effect of the judgment on sale of
     any valuable assets owned by Mr. Pappas, including any
     assets acquired in the future, would not be subject to
     this schedule.

[Doc. #277 at 5].
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of $47,844.28, Pappas has not made any payments to plaintiff or

demonstrated any effort to comply with the Court’s order.6 Pappas

testified that he has no records of employment or income, he is

paid in cash, files no federal or state income tax returns and

does not pay any state property taxes. Further, all the

statements generated by defendant for Normandie Park show that

expenses meet or exceed income. These statements were prepared

by defendant and are not verified with copies of rental checks

and/or proof of payment of expenses.

     Defendant has constructed a lifestyle in which he shows no

income, property or assets. Plaintiff has uncovered a troubling

record of Pappas’s close associations with Trusts in which his

girlfriends or, temporarily, his sister, nominally act as

Trustee. Defendant has demonstrated that he is not incentivized

to show income. He testified to generating undisclosed,

unverifiable, income from wood sales, a Radon company,

construction, rental income and handyman type work without

explaining how he houses, clothes, feeds and supports himself.

“A contemnor may be excused from the burden of a civil contempt

sanction if [he] lacks the financial capacity to comply; but the


     6As previously noted, Pappas paid plaintiff $42 on May 24,
2016, representing the previous month’s rental income from
Normandies Park. [Doc. #264 Ex. 5]. The same day that Pappas
filed an objection to the Court’s recommended ruling.6 [Doc.
#264]. That is the only payment since the entry of Judge
Eginton’s January 19, 2016 Order.
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contemnor bears the burden of production in raising such a

defense.” Paramedics Electromedicina Comercial, Ltda, 369 F.3d

at 658. Defendant has not sustained his burden here.

ORDER

     In light of the foregoing, it is HEREBY ORDERED that,

     Defendant Charles Pappas will pay $800 per month, no later

than the 10th of each month, to Attorney Greg Kirschner, Trustee

for Ms. Parris. Defendant will file with the Court under seal a

proof of payment together with a sworn and notarized monthly

statement of income and expenses, along with a copy of his

monthly bank statement. This submission will be provided by the

15th of each month with a copy to plaintiff’s counsel. Should

plaintiff begin to receive rental income from Normandies Park,

defendant may offset the $800 monthly payment to reflect any

amount tendered from the Normandies Park stream of income.

     Compliance with this order will continue until such time as

the judgment is satisfied in full. Failure to comply will

subject the defendant to further sanctions, which may include

incarceration.

CONCLUSION

     Accordingly, plaintiff’s Renewed Motion for Sanctions and

Finding of Contempt [Doc. #274] is GRANTED in accordance with

this ruling and order.

     This is a Recommended Ruling. See Fed. R. Civ. P.

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72(b)(1). Any objections to this recommended ruling must be

filed with the Clerk of the Court within fourteen (14) days of

being served with order.    See Fed. R. Civ. P. 72(b)(2).

Failure to object within fourteen days may preclude appellate

review.   See 28 U.S.C. §636(b)(1); Fed. R. Civ. P. 72(b); and

D. Conn. L. Civ. R. 72.2; Small v. Secretary of H.H.S., 892

F.2d 15 (2d Cir. 1989)(per curiam); F.D.I.C. v. Hillcrest

Assoc., 66 F.3d 566, 569 (2d Cir. 1995).

    SO ORDERED at Bridgeport this 5th day of October 2017.


                               /s/      ___     _________
                           HOLLY B. FITZSIMMONS
                           UNITED STATES MAGISTRATE JUDGE




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